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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.: 23-24903-CIV-ALTONAGA

 SECURITIES AND EXCHANGE COMMISSION,

        Plaintiff,
 v.

 RISHI KAPOOR, et al.,

       Defendants.
 __________________________________________/

             RECEIVER’S MOTION FOR AUTHORIZATION OF EMPLOYMENT
              OF KOZYAK TROPIN & THROCKMORTON LLP AS COUNSEL,
                        RETROACTIVE TO JANUARY 12, 2024

        Bernice C. Lee, as Receiver (“Receiver”) over the companies 1 listed herein (collectively,

 the “Company Defendants” and “Receivership Defendants”) in this action, applies for

 authorization and approval of the employment of David L. Rosendorf and the firm of Kozyak

 Tropin & Throckmorton, LLP (collectively “KTT”), as counsel to the Receiver, retroactive to

 January 12, 2024, and states:

        1.     On December 27, 2023, the Securities and Exchange Commission (“SEC”) filed an

 Emergency Ex Parte Motion for Asset Freeze and Other Relief [DE 6] under seal commencing

 this proceeding against Rishi Kapoor and the Company Defendants, to ensure that a disgorgement


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   The Company Defendants include: Location Ventures, LLC (“LV”), URBIN, LLC (“URBIN”), Patriots
 United, LLC (“Patriots United”); Location Properties, LLC (“L. Properties”); Location Development, LLC
 (“L. Development”); Location Capital, LLC (“L. Capital”); Location Ventures Resources, LLC (“L.
 Resources”); Location Equity Holdings, LLC (“L. Holdings”); Location GP Sponsor, LLC (“L. GP
 Sponsor”); 515 Valencia Sponsor, LLC (“515 Valencia Sponsor”); LV Montana Sponsor, LLC (“LV
 Montana Sponsor”); URBIN Founders Group, LLC (“URBIN Founders”); URBIN CG Sponsor, LLC
 (“URBIN CG Sponsor”); 515 Valencia Partners, LLC (“515 Valencia”); LV Montana Phase I, LLC (“LV
 Montana”); Stewart Grove 1, LLC (“Stewart Grove 1”); Stewart Grove 2, LLC (“Stewart Grove 2”);
 Location Zamora Parent, LLC (“L. Zamora Parent”); URBIN Coral Gables Partners, LLC (“URBIN
 Gables”); URBIN Coconut Grove Partners, LLC (“URBIN Grove”); URBIN Miami Beach Partners, LLC
 (“URBIN Miami Beach”); and URBIN Miami Beach II Phase 1, LLC (“URBIN Miami Beach II”).
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 award can be satisfied and to prevent further dissipation of investor funds and potentially other

 assets out of the Court’s reach.

         2.   On January 12, 2024, the Court entered an Order [DE 28] (“Receivership Order”)

 appointing Ms. Lee as Receiver over the Receivership Defendants.

         3.   Pursuant to the Receivership Order, the Receiver is directed inter alia to take

 exclusive control and possession of all assets of whatever kind and wherever situated of the

 Receivership Defendants; is authorized to exercise the powers previously possessed by the

 officers, directors, managers, trustees and agents of the Receivership Defendants; has the power

 and duty to use reasonable efforts to determine the nature, location and value of all property

 interests of the Receivership Defendants; to take into custody, control and possession all

 Receivership Property and records relevant thereto; to take immediate possession of all assets,

 bank accounts or other financial accounts, books and records and all other documents or

 instruments relating to the Receivership Defendants; and to investigate the manner in which the

 financial and business affairs of the Receivership Defendants were conducted.

         4.   Paragraph 2 of the Receivership Order states that the Receiver “is given authority to

 retain Kozyak Tropin & Throckmorton as counsel.” Pursuant to Paragraph 7.F of the Receivership

 Order, the Receiver is authorized to “engage and employ persons in her discretion to assist her in

 carrying out her duties and responsibilities, including, but not limited to, accountants, attorneys,

 securities traders, registered representatives, financial or business advisers, liquidating agents, real

 estate agents, forensic experts, brokers, traders, or auctioneers[.]”

         5.   Pursuant to Paragraph 51 of the Receivership Order, the Receiver, subject to

 obtaining Court approval of quarterly fee applications, is authorized to solicit persons and entities

 (“Retained Personnel”) to assist in carrying out the duties and responsibilities described in the



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 Order.

          6.   Pursuant to Paragraph 52 of the Receivership Order, and subject to prior approval by

 the Court, Retained Personnel are entitled to reasonable compensation and expense reimbursement

 from the Receivership Estate as described in the “Billing Instructions for Receivers in Civil

 Actions Commenced by the U.S. Securities and Exchange Commission” (“Billing Instructions”).

          7.   In order for the Receiver to properly discharge her duties in this case, the Receiver

 requires the assistance of counsel to advise and represent her, and to assist her in complying with

 her duties under the Receivership Order.

          8.   While Paragraph 2 of the Receivership Order already authorizes the Receiver to retain

 Kozyak Tropin & Throckmorton (“KTT”) as counsel, for purposes of clarity and disclosure, the

 Receiver files this Motion to seek authorization to employ David L. Rosendorf and KTT as counsel

 on the terms set forth herein.

          9.   The KTT firm has extensive experience representing receivers, trustees and other

 fiduciaries, particularly in cases involving fraud and Ponzi schemes, as well as in litigation of

 financial fraud and other complex commercial litigation matters. The Receiver anticipates that

 David L. Rosendorf will have primary responsibility for this matter. His resume is attached as

 Exhibit A. The Receiver requests that KTT be authorized to utilize such attorneys, paralegals and

 other professionals and paraprofessionals at the firm as are appropriate to assist the Receiver in

 fulfilling her responsibilities.

          10. KTT has agreed to perform the foregoing services at the following hourly rates:

  Attorneys/Paralegals      Hourly Rate                               Discounted Hourly Rate
  David Rosendorf and other $775.00 - $960.00                        $350.00
  Partners
  Of Counsel                $700.00 - 800.00                         $300.00
  Associate                 $400.00 - $575.00                        $250.00
  Paralegal                 $265.00                                  $150.00

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 KTT will incur out-of-pocket disbursements in the rendition of the services for which it shall seek

 reimbursement. KTT recognizes that its compensation and reimbursement of expenses are subject

 to approval and adjustment by the Court in accordance with the Billing Instructions.

        11. The Receiver is herself a shareholder of KTT. The Receiver will separately report

 and track her time as Receiver, to ensure it is separately reported and not included in the billing

 for KTT’s services as counsel to the Receiver.

        12. The Receiver requests that the relief granted pursuant to this Motion be retroactive to

 January 12, 2024, the date of the Receiver’s appointment, as due to the exigent circumstances of

 the case, the Receiver has required the immediate assistance of counsel which KTT agreed to and

 has provided.

        WHEREFORE, the Receiver respectfully requests that this Court enter an order

 approving the Receiver’s employment of KTT as her attorneys, in the form of the attached Exhibit

 “B”, upon the terms and conditions set forth herein.

                  CERTIFICATION OF CONFERENCE WITH COUNSEL

        Counsel for the SEC and counsel for defendant Rishi Kapoor have informed undersigned

 counsel that they have no objection to the relief requested herein.

        WHEREFORE, the Receiver respectfully requests the entry of an Order authorizing the

 Receiver’s employment of KTT as counsel, in accordance with the terms of this Motion.



                                [signature block on following page]




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                                            KOZYAK TROPIN & THROCKMORTON, LLP
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                                            By: /s/ David L. Rosendorf
                                               David L. Rosendorf, Esq.
                                               Florida Bar No. 996823

                                            Counsel for Bernice C. Lee, Receiver

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been served via

 CM/ECF upon all counsel of record this 17th day of January, 2024.



                                            By: /s/ David L. Rosendorf
                                               David L. Rosendorf, Esq.




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